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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SMARTMATIC         USA      CORP.,
SMARTMATIC          INTERNATIONAL
HOLDING B.V., and SGO CORPORATION                          Case No. 23-2200
LIMITED,                                       [D. Minn. Case No. 22-cv-0098-WMW-JFD]

                     Plaintiffs,
                                                 [PROPOSED] ORDER GRANTING
                v.                             DEFENDANTS’ MOTION TO COMPEL
                                                COMPLIANCE WITH DEPOSITION
MICHAEL J. LINDELL and MY PILLOW,               SUBPOENA TO CARLOTTA WELLS
INC.,

                     Defendants.


       On consideration of Defendants’ Motion to Compel Compliance with Deposition

Subpoena to Carlotta Wells and supporting papers, the Opposition of Carlotta Wells,

Defendants’ Reply, arguments of counsel and the record herein, the Court ORDERS that

Carlotta Wells within 14 days shall provide deposition testimony in compliance with the

subpoena served upon her by the Defendants.

       IT IS SO ORDERED.

                                          _________________________________
                                          UNITED STATES DISTRICT JUDGE

DATE: _________________, 2023
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                          LCvR 7(k) List of Persons to Be Notified

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